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                                                THE CITY OF NEW YORK
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                                                                              September 17, 2020

        BY ECF
        Honorable Peggy Kuo
        United States Magistrate Judge
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                             Re:   Takeisha Reid v. City of New York, et al., 20-CV-3926 (FB)(PK)

        Your Honor:

                      I am an Assistant Corporation Counsel in the Office of Georgia Pestana, Acting
        Corporation Counsel of the City of New York, and the attorney representing the defendant City
        of New York 1 in the above-referenced case. Defendant City writes respectfully to request a 60-
        day extension of time, from September 17, 2020 to November 16, 2020, to answer or otherwise
        respond to the Complaint. In addition, defendant City hopes that the Court will, sua sponte,
        likewise extend defendant Detective Gregory Howard’s time to respond to the Complaint to
        November 16, 2020. This is defendant City’s first request for an extension of time to respond to
        the Complaint. Plaintiff’s counsel, Vikrant Pawar, Esq., consents to this request.

                        Plaintiff brings this action pursuant to 42 U.S.C. § 1983 and state law asserting
        claims of, inter alia, unlawful seizure, violation of substantive due process, harassment,
        intentional infliction of emotional distress, and negligence. On August 27, 2020, the City was
        served with the Complaint. Accordingly, pursuant to Federal Rule of Civil Procedure 12,
        defendant City’s response to the Complaint is due today, September 17, 2020. In accordance
        with this Office’s obligations under Federal Rule of Civil Procedure 11, this Office requires
        additional time to obtain the underlying records and to investigate the allegations set forth in the
        Complaint. Accordingly, defendant City respectfully requests a 60-day extension of time, to
        November 16, 2020, to answer or otherwise respond to the Complaint.

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          Plaintiff purports to name the New York City Police Department (“NYPD”) as a defendant in this matter. The
        NYPD, however, is a non-suable entity. Jenkins v. City of New York, 478 F.3d 76, 93 n.19 (2d Cir. 2007); Wray v.
        City of New York, 340 F. Supp. 2d 291, 303 (E.D.N.Y. 2004) (quoting N.Y.C. Charter § 396 (“All actions and
        proceedings for the recovery of penalties for the violation of any law shall be brought in the name of the City of
        New York and not in that of any agency, except where otherwise provided by law.”))
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               In addition, defendant City hopes that the Court will sua sponte extend the time
for defendant Detective Gregory Howard to respond to the Complaint, which will allow this
Office time to conduct an inquiry to determine whether it will represent him in this matter. On
September 17, 2020, plaintiff filed an affidavit of service indicating that Detective Howard was
served with the Complaint on September 9, 2020. (ECF No. 9.) Accordingly, his response is due
on September 30, 2020. As this Office has not yet determined whether it will represent Detective
Howard, this application is not made on his behalf. However, given the time involved in
determining the representation of an employee of the New York City Police Department, this
Office hopes that the Court will sua sponte extend his time to answer, so that his defenses are not
jeopardized while this Office determines representation. See Mercurio v. The City of New York,
et al., 758 F.2d 862, 864-65 (2d Cir. 1985) (quoting Williams v. City of New York, et al., 64
N.Y.2d 800, 486 N.Y.S.2d 918 (1985) (decision whether to represent individual defendants is
made by the Corporation Counsel as set forth in state law)). In the interest of judicial economy,
defendant City hopes that the Court will extend Detective Howard’s time to respond to the
Complaint to November 16, 2020, so that the City and Detective Howard may respond at the
same time.
               Defendant City thanks the Court for its time and consideration herein.

                                                            Respectfully submitted,



                                                            Geoffrey M. Stannard
                                                            Assistant Corporation Counsel

cc:    BY ECF
       Vikrant Pawar, Esq., Attorney for Plaintiff




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